                                                           Case 8:11-bk-05292-CPM         FORM
                                                                                           Doc 140 Filed 07/24/19                  Page 1 of 2                     Page No:     1
                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES

Case No.:                        11-05292                                                                                               Trustee Name:                           Beth Ann Scharrer
Case Name:                       MARTINEZ, EDWIN AND MARTINEZ, MIGDALIA                                                                 Date Filed (f) or Converted (c):        03/24/2011 (f)
For the Period Ending:           06/30/2019                                                                                             §341(a) Meeting Date:                   04/28/2011
                                                                                                                                        Claims Bar Date:                        07/31/2011
                                   1                                          2                       3                           4                        5                                        6

                       Asset Description                                   Petition/         Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                   Unscheduled        (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                           Less Liens, Exemptions,
                                                                                              and Other Costs)

Ref. #
1      Tort claim. Case reopened to administer the              (u)                $0.00                   $17,352.69                                           $0.00                                   $34,704.38
       same.
Asset Notes:     Compromise motion filed 6/29/19.
2        3424 Yale Circle, Riverview, FL 33578                              $144,000.00                          $0.00                                          $0.00                                           FA
3        Grow Financial Checking (#6740)                                       $592.47                           $0.00                                          $0.00                                           FA
4        Grow Financial Savings (#6740)                                       $1,429.73                          $0.00                                          $0.00                                           FA
5        Chase Checking (#9158)                                                    $0.00                         $0.00                                          $0.00                                           FA
6        Chase Savings (#5558)                                                 $161.14                           $0.00                                          $0.00                                           FA
Asset Notes:       owned jointly w/son
7        Chase Savings (#8639)                                                    $24.40                         $0.00                                          $0.00                                           FA
Asset Notes:       owned jointly w/Armani Santigo
8        Chase Checking (#6170)                                                $192.29                           $0.00                                          $0.00                                           FA
9        Chase Savings (#9313)                                                     $0.00                         $0.00                                          $0.00                                           FA
10       stove, refrigerator, washer/dryer, microwave,                        $1,200.00                          $0.00                                          $0.00                                           FA
         cookware, flatware, living room furniture,
         bedroom furniture, dining room furniture, TV's,
         DVD's, household tools, yard tools
11       Wearing apparel                                                       $250.00                           $0.00                                          $0.00                                           FA
12       ING - Publix Super Markets, Inc.                                    $12,861.47                          $0.00                                          $0.00                                           FA
13       1993 Oldsmobile Cutlass 4DR                                          $1,675.00                          $0.00                                          $0.00                                           FA
14       1999 Plymouth Voyager Minivan                                        $2,100.00                          $0.00                                          $0.00                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                    Gross Value of Remaining Assets
                                                                           $164,486.50                      $17,352.69                                           $0.00                                  $34,704.38



Major Activities affecting case closing:
 06/27/2019     Compromise motion filed re: tort claim.
 05/18/2019     Compromise motion re: tort claim to be filed.
 11/01/2018     Reviewed all claims. No objections needed.
                                                          Case 8:11-bk-05292-CPM           FORM
                                                                                            Doc 140 Filed 07/24/19                           Page 2 of 2                     Page No:     2
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

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                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

 07/23/2018    Employed general counsel in case re: tort claim.
 07/10/2018    To pursue tort claim(s). Application to employ atty to be filed.
 07/09/2018    Chapter 7 case reopened to pursue tort claim.


Initial Projected Date Of Final Report (TFR):           12/15/2019                          Current Projected Date Of Final Report (TFR):                                /s/ BETH ANN SCHARRER
                                                                                                                                                                         BETH ANN SCHARRER
